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                         UNITED STATES COURT OF APPEALS                    FILED
                                FOR THE NINTH CIRCUIT                       JUL 28 2022
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
WOMEN’S STUDENT UNION,                            No.    22-16016

                     Plaintiff-Appellant,         D.C. No. 3:21-cv-01626-EMC
                                                  Northern District of California,
  v.                                              San Francisco

U.S. DEPARTMENT OF EDUCATION,                     ORDER

                     Defendant-Appellee,

  and

STATE OF TEXAS; et al.,

                     Movants.

         The appellant’s unopposed motion (Docket Entry No. 7) to stay appellate

proceedings is granted in part. The previously established briefing schedule is

vacated.

         Appellate proceedings other than mediation are stayed pending resolution of

the Department of Education’s rulemaking proceedings or until further order of the

court.

         The parties shall file a status report on October 30, 2022, and every 90 days

thereafter while the rulemaking proceedings are pending. Status reports should

include any change in the status of the proceedings and the estimated date of

completion, if known.

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        The parties shall notify the court by filing a status report within 7 days of the

promulgation of any final rule.

        Failure to file a status report will terminate the stay of appellate proceedings.

        The briefing schedule will be reset in a future order.


                                                    FOR THE COURT:

                                                    MOLLY C. DWYER
                                                    CLERK OF COURT


                                                    By: Terri Haugen
                                                    Deputy Clerk
                                                    Ninth Circuit Rule 27-7




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